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12                             UNITED STATES DISTRICT COURT
13                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
14
     CENTER FOR BIOLOGICAL               )        Case No. 4:21-cv-345-KAW
15   DIVERSITY, et al.,                  )
16                                       )        DEFENDANTS’ NOTICE OF MOTION,
                 Plaintiffs,             )        CROSS-MOTION FOR SUMMARY
17                                       )        JUDGMENT, AND RESPONSE TO
           v.                            )        PLAINTIFFS’ MOTION FOR
18
                                         )        SUMMARY JUDGMENT
19   NOAA FISHERIES, et al.,             )
                                         )        Date:         August 4, 2022
20               Defendants.             )        Time:         1:30 p.m.
                                         )        Location:     Oakland Courthouse
21
                                         )                      1301 Clay St.
22   ____________________________________)                      Oakland, CA 94612

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     Defs.’ Cross-Motion for Summary Judgment           U.S. Department of Justice
                                                        Environment & Natural Resources Division
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 1           PLEASE TAKE NOTICE that on August 4, 2022, at 1:30 p.m., or as soon thereafter as
 2   counsel may be heard, in the courtroom of the Honorable Kandis A. Westmore, located in
 3   the United States District Court for the Northern District of California, Oakland Courthouse,
 4   1301 Clay Street, Oakland, CA 94612, the United States will bring for hearing Defendants’
 5   Cross-Motion for Summary Judgment and Response to Plaintiffs’ Motion for Summary
 6   Judgment.
 7           Under Federal Rule of Civil Procedure 56 and Civil Local Rule 7, Defendants cross-
 8   move for summary judgment on the claims in Plaintiffs’ Complaint. See Dkt. No. 1. Defendants
 9   are entitled to summary judgment because the National Marine Fisheries Service and the U.S.
10   Coast Guard complied with the requirements of the Endangered Species Act, 16 U.S.C. § 1531
11   et seq., in issuing the February 2017 Biological Opinion (BiOp) and in relying on the BiOp.
12   Defendants’ Cross-Motion is based on the accompanying Memorandum, the Administrative
13   Records, and all other matters of which the Court may take judicial notice, and any argument or
14   evidence that may be presented to or considered by the Court prior to its ruling.
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 1                                        TABLE OF ACRONYMS
 2   AIS             Automatic Information System
 3   APA             Administrative Procedure Act
 4   ASBS            Area of Sensitive Biological Significance
 5   BiOp            Biological Opinion
 6   CARB            California Air Resources Board
 7   DPS             Distinct Population Segment
 8   ECA             Emissions Control Area
 9   ESA             Endangered Species Act
10   FCRPS           Federal Columbia River Power System
11   IMO             International Maritime Organization
12   ITS             Incidental Take Statement
13   MMPA            Marine Mammal Protection Act
14   NMFS            National Marine Fisheries Service
15   NOAA            National Oceanic and Atmospheric Administration
16   PARS            Port Access Route Studies
17   PBR             Potential Biological Removal
18   PWSA            Ports and Waterways Safety Act
19   RPA             Reasonable and Prudent Alternative
20   SAR             Stock Assessment Report
21   SOLAS           International Convention for Safety of Life at Sea
22   TSS             Traffic Separation Scheme
23   USCG            United States Coast Guard
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     Defs.’ Cross-Motion for Summary Judgment                     U.S. Department of Justice
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 1       MEMORANDUM IN SUPPORT OF CROSS-MOTION FOR SUMMARY JUDGMENT
 2                                              INTRODUCTION
 3           Traffic Separation Schemes (TSSs) aid in the organization of vessel movement in the
 4   coastal waters around the United States through the establishment of traffic lanes. These oceanic
 5   lanes help to increase navigational safety and predictability, and in this way are similar to
 6   terrestrial lanes on roads and highways. The TSSs at issue in this case were designated by the
 7   U.S. Coast Guard (USCG) and adopted by the International Maritime Organization (IMO) and
 8   designed to arrange vessel traffic into and out of two key western U.S. ports—San Francisco
 9   and Los Angeles/Long Beach.1 Under Endangered Species Act (ESA) Section 7(a)(2), action
10   agencies such as USCG are required to consult with the National Marine Fisheries Service
11   (NMFS) when an action may affect marine species listed as endangered or threatened. Here,
12   USCG initiated consultation with NMFS on the effects of the California TSSs on blue,
13   humpback, and fin whales, as well as leatherback sea turtles. NMFS subsequently issued a
14   Biological Opinion (BiOp) in which the agency determined that TSSs were likely to reduce the
15   risk posed by vessel traffic to listed species in the approaches to the ports of San Francisco and
16   Los Angeles/Long Beach, and therefore were not likely to jeopardize the ESA-listed species.
17   The administrative records in this case show that NMFS rationally reached this science-based
18   conclusion and that USCG reasonably relied on it.
19           Plaintiffs’ Complaint raises five claims regarding action and inaction by USCG and
20   NMFS. In their Motion for Summary Judgment, Plaintiffs have not advanced merits arguments
21   on Claims III, IV, and V, which relate to reinitiation of consultation, ESA Section 7(d), and take
22   under ESA Section 9, respectively. Instead, they focus on Claims I and II, which challenge the
23   validity of the BiOp and USCG’s reliance on it. Plaintiffs contend that NMFS erred in how it
24   structured the BiOp, but their primary assertions are directed at an assumption that NMFS did
25   not make, and thus the crux of their argument is premised on a red herring. Plaintiffs’ assertions
26   also run counter to the record evidence, which shows that NMFS applied its expert judgment
27   1
       The San Francisco TSS also leads to the port of Oakland. This brief will refer to these lanes as
28   the San Francisco TSS because the administrative record documents refer to San Francisco when
     discussing this TSS.
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 1   and considered the best available scientific and commercial information. Because both of the
 2   agencies fulfilled their Section 7 obligations in this case, the Court should grant Defendants’
 3   Cross-Motion for Summary Judgment and deny Plaintiffs’ Motion for Summary Judgment.
 4                       STATUTORY AND REGULATORY BACKGROUND
 5   I.      Endangered Species Act
 6           Congress enacted the ESA to establish a program for the conservation of endangered
 7   species and threatened species and the ecosystems on which those species depend. 16 U.S.C. §
 8   1531(b). Only those species that meet the statutory definition of an endangered species or a
 9   threatened species qualify for the protections of the ESA. An endangered species is one that “is
10   in danger of extinction throughout all or a significant portion of its range,” and a threatened
11   species is one that is “likely to become an endangered species within the foreseeable future
12   throughout all or a significant portion of its range.” Id. § 1532(6), (20). “Species” includes “any
13   subspecies of fish or wildlife or plants, and any distinct population segment [DPS] of any
14   species of vertebrate fish or wildlife which interbreeds when mature.” Id. § 1532(16). The
15   Secretary of the Interior or Secretary of Commerce must develop and implement recovery plans
16   for “the conservation and survival” of those species listed under the ESA. Id. § 1533(f)(1).2
17           Under Section 7(a)(2), federal agencies must ensure that any action funded, authorized,
18   or carried out by the agency is “not likely to jeopardize the continued existence of any
19   endangered species or threatened species” or to destroy or adversely modify its critical habitat.
20   16 U.S.C. § 1536(a)(2). The ESA requires that action agencies consult with NMFS or the Fish
21   and Wildlife Service (together, the Services) whenever the agency’s action “may affect” a listed
22   species. Id.; 50 C.F.R. § 402.14(a). The action agency must engage in “informal” or “formal”
23   consultation. 50 C.F.R. § 402.14(a), (b). “If during informal consultation it is determined by the
24   [action agency] that the action is not likely to adversely affect listed species or critical habitat,
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27   2
      The Secretary of Commerce has jurisdiction over most marine species, including whales and
28   sea turtles, and the Secretary delegated this authority to NMFS. 16 U.S.C. § 1532(15); 50 C.F.R.
     § 402.01(b). The Secretary of the Interior has jurisdiction over terrestrial species.
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 1   the consultation process is terminated.” Id. § 402.13(a) (2017).3 If the action is “likely to
 2   adversely affect” listed species or critical habitat, the agencies must engage in formal
 3   consultation, which culminates in the issuance of a “biological opinion” by the consulting
 4   agency. Id. § 402.14(h). A BiOp considers whether the proposed action is likely to jeopardize
 5   the continued existence of the species or result in the destruction or adverse modification of its
 6   designated critical habitat. See id. If the consulting agency reaches a no-jeopardy decision, and
 7   if “take”4 is reasonably certain to occur, then the agency must issue an incidental take statement
 8   (ITS). 50 C.F.R. § 402.14(g)(7); see 16 U.S.C. § 1536(b)(4)(i)-(ii). The ESA regulations also
 9   require reinitiation of consultation under certain circumstances. 50 C.F.R. § 402.16(a)(1)-(4).
10   II.     Marine Mammal Protection Act
11           Congress enacted the Marine Mammal Protection Act (MMPA) in 1972 based on its
12   finding that certain species or population stocks of marine mammals are or may be “in danger of
13   extinction or depletion as a result of man’s activities.” 16 U.S.C. § 1361(1). It found that such
14   mammals “should not be permitted to diminish beyond the point at which they cease to be a
15   significant functioning element in the ecosystem of which they are a part, and, consistent with
16   this major objective, they should not be permitted to diminish below their optimal sustainable
17   population.” Id. § 1361(2). With respect to any population stock, “optimum sustainable
18   population” means “the number of animals which will result in the maximum productivity of
19   the population or the species, keeping in mind the carrying capacity of the habitat and the health
20   of the ecosystem of which they form a constituent element.” Id. § 1362(9). The term “potential
21   biological removal [PBR] level” means “the maximum number of animals, not including natural
22   mortalities, that may be removed from a marine mammal stock while allowing that stock to
23   reach or maintain its optimum sustainable population.” Id. § 1362(20). Thus, the MMPA aims
24   to protect marine mammals by maintaining the stocks as part of their ecosystems.
25
26   3
      This regulation has been revised since the time of the 2017 BiOp. See 84 Fed. Reg. 44,976
27   (Aug. 27, 2019). Those regulations are the subject of legal challenges. See infra at 27 n.20.
     4
28     “Take” is defined as “harass, harm, pursue, hunt, shoot, wound, kill, trap, capture, or collect, or
     to attempt to engage in any such conduct.” 16 U.S.C. § 1532(19).
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 1   III.    Ports and Waterways Safety Act
 2           The Ports and Waterways Safety Act (PWSA) authorizes USCG to “construct, operate,
 3   maintain, improve, or expand vessel traffic services” in any port or place under the jurisdiction
 4   of the United States. 46 U.S.C. § 70001(a)(1).5 Those “vessel traffic services” consist of
 5   “measures for controlling or supervising vessel traffic or for protecting navigation and the
 6   marine environment.” Id. In order to provide “safe access routes for the movement of vessel
 7   traffic proceeding to or from ports or places,” USCG designates voluntary TSSs and fairways
 8   for vessels operating in the territorial sea, which extends 12 miles from the shoreline, and the
 9   high sea approaches to U.S. ports. Id. § 70003(a). USCG regulations define a TSS as “a
10   designated routing measure which is aimed at the separation of opposing streams of traffic by
11   appropriate means and by the establishment of traffic lanes,” 33 C.F.R. § 167.5(b), and a traffic
12   lane as “an area within defined limits in which one-way traffic is established,” id. § 167.5(c).6
13           To designate a TSS, USCG must conduct a Port Access Route Study (PARS) that
14   analyzes potential traffic density and the need for safe access routes for vessels. 46 U.S.C. §
15   70003(c)(1). As part of the TSS process, USCG coordinates with the Secretaries of State, the
16   Interior, Commerce, and the Army, and the Governors of affected states, so that it can “take into
17   account all other uses of the area under consideration.” Id. § 70003(c)(2). USCG must also
18   consider “all relevant factors concerning navigation and vessel safety, protection of the marine
19   environment, and the safety and security of United States ports and waterways.” Id. § 70004(1);
20   see id. § 70004(1)(A) – (I); id. § 70031(1) (defining the term “marine environment”).
21   Ultimately, a TSS designation must recognize “the paramount right of navigation over all other
22   uses.” Id. § 70003(a). If USCG determines that it is appropriate to designate or adjust the TSS,
23   the agency publishes a notification in the Federal Register and then submits the TSS proposal to
24   an international body—the International Maritime Organization—for consideration and
25   adoption. Id. § 70003(d)(2), (e)(4). IMO adoption ensures international recognition of the TSS.
26   5
      Congress moved the PWSA from Title 33 to Title 46 in 2018. See Pub. L. No. 115-282 §§ 401,
27   404, 132 Stat. 4192, 4253, 4265 (Dec. 4, 2018).
     6
28    A fairway is “a lane or corridor in which no artificial island or fixed structure” is permitted. 33
     C.F.R. § 166.105(a).
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 1                         FACTUAL AND PROCEDURAL BACKGROUND
 2           This case involves the efforts by NMFS and USCG to reduce the co-occurrence of large
 3   ships, or vessels, and four ESA-listed species in the coastal waters of California and to ensure
 4   navigational safety and predictability through the designation and adjustment of TSSs in the
 5   approaches to ports in those same waters. That designation and adjustment of the TSSs is the
 6   “proposed action” that is the subject of the USCG’s ESA consultation with NMFS.
 7   I.      Whales on the California Coast
 8           NMFS’s BiOp considered three species of cetaceans—blue, fin, and humpback whales.
 9   As required by the ESA, NMFS focused on whether the proposed action was likely to
10   jeopardize the whales; however, for the status of the species discussion of these whales, NMFS
11   relied in part on the concept of “stocks” as that term is used under the MMPA. NMFS did so to
12   provide the best available status information and population estimates of whale populations in
13   the waters affected by the proposed action. NMFS AR 24.7 As part of this reliance on MMPA
14   stocks, NMFS also included the PBR in the BiOp discussion. But it is important to note that the
15   PBR assessment under the MMPA is not, as Plaintiffs erroneously suggest, a number above
16   which a species is unable to recover for purposes of the ESA. See, e.g., Dkt. No. 41 (Pls.’ Mot.)
17   at 4 (“NMFS has determined that this population cannot sustain more than 2.3 human-caused
18   deaths annually if the population is to recover.”). In fact, the best available science shows the
19   relevant whale populations are increasing or stable. NMFS AR 24, 30, 39-40.
20        A. Blue Whales
21           The blue whale, Balaenoptera musculus, was listed as endangered under the precursor
22   law to the ESA and remained on the list after Congress passed the ESA. NMFS AR 21-22. The
23   name for this baleen whale stems from the blue-gray coloring, which appears light blue under
24   7
       Citations to NMFS’s Administrative Record are noted by (1) “NMFS AR” and a page cite
25   corresponding to the Bates number at the bottom of the page for the Consultation Documents;
     (2) “NMFS References” plus a page cite to the corresponding Bates number for the Scientific
26   References and document number in the record index; or (3) “NMFS Supporting Docs” and a
27   page cite to the corresponding Bates number for Supporting Documents. Citations to USCG’s
     Administrative Record are noted by “USCG AR” and a page cite corresponding to the Bates
28   number at the bottom of the page. For ease of reference, these citations do not include the zeros
     preceding the Bates numbers.
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 1   water. The blue whale’s oceanic location and movement are determined in large part by krill,
 2   which is the primary prey: blue whales are often found at the upwelling zones near the
 3   continental shelf, where krill abundance is highest; the whales follow krill into deeper waters
 4   during the daytime and shallower waters at night; and the whales migrate seasonally in large
 5   part based on krill movement. NMFS AR 23-25. Globally, blue whales are separated into three
 6   subspecies—those found in the North Pacific, the North Atlantic, and the Southern Hemisphere.
 7   NMFS AR 22. The MMPA stock likely to be affected by the proposed action is the Eastern
 8   North Pacific stock of the first subspecies. NMFS AR 25. The minimum population estimate for
 9   this stock is 1,551 whales. NMFS AR 26-27.
10       B. Fin Whales
11           The fin whale, Balaenoptera physalus, is another baleen whale that was listed as
12   endangered under the precursor law to the ESA and remained on the list after Congress passed
13   the ESA. NMFS AR 28. Its upper half is dark gray, while its lower half is cream or white, and
14   the genesis for its name is the dorsal fin located toward the end of its back. Id. Most fin whales
15   migrate seasonally, though they tend to avoid tropical climates. NMFS AR 29. Their primary
16   prey are krill and schooling fish. Id. The stock of fin whales likely to be affected by the
17   proposed action is the California/Oregon/Washington stock. NMFS AR 30. The minimum
18   population estimate for this MMPA-oriented stock is 2,598 whales, and abundance in the stock
19   increased 51% between 1996 and 2008. NMFS AR 30-31.
20       C. Humpback Whales
21           The third baleen whale covered by the BiOp is the humpback whale, Megaptera
22   novaeangliae. Humpback whales were listed as endangered in 1973. NMFS AR 32. Humpback
23   whales are primarily dark gray in color, and they are distinguished by wing-like pectoral
24   flippers and the fluke patterns on their underside. NMFS AR 35; 80 Fed. Reg. 22,304, 22,308
25   (Apr. 21, 2015). They are migratory animals, spending winter months in tropical areas and
26   spring, summer, and fall months in polar areas. NMFS AR 35. Like fin whales, their primary
27   food source is krill and schooling fish. Id. And, like blue whales, humpback whales follow their
28   prey into deeper waters during the daytime and shallower waters at night. Id.

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 1           There exist four stocks of humpback whales in the North Pacific, one of which is most
 2   relevant for the action area covered by the BiOp: the California/Oregon/Washington stock.
 3   NMFS AR 38. This stock winters primarily off the coast of Central America and Mexico and
 4   migrates north in the summer and fall. Id. The minimum population estimate for this MMPA
 5   stock in 2016 was 1,876, and the current trend is an increase of 7.5%. NMFS AR 39-40. In
 6   2016, NMFS published a Final Rule identifying 14 distinct population segments (DPSs) of
 7   humpback whales, and listing four of those DPSs as endangered, and one as threatened. NMFS
 8   AR 32. Two of these—the Central America and Mexico DPSs—are in the action area, which is
 9   the waters within and around the TSSs of San Francisco and Los Angeles/Long Beach. NMFS
10   AR 16, 33. NMFS’s BiOp analyzed the effects of the action on the endangered Central America
11   DPS and the threatened Mexico DPS. See, e.g., NMFS AR 40, 72, 93.
12       D. Threats Faced by Whales
13           Blue, fin, and humpback whales face a number of threats, including: vessel strikes;
14   interactions with fisheries and whale-watching boats; disturbance caused by scientific research,
15   noise, climate change, and marine pollution; reduced prey abundance; and habitat degradation.
16   NMFS AR 27-28, 31-32, 40-43. The multiplicity of threats has informed the recovery plans for
17   the whales. See NMFS References 9536-83 (Doc. 197, Reeves et al. 1998), 10446-566 (Doc.
18   169, NMFS (2010)). Plaintiffs cabin their threats discussion to vessel strikes only while
19   simultaneously misconstruing those parts of the record specifically related to vessel strikes. For
20   example, the blue whale recovery plan indicates that NMFS should “identify and implement
21   methods to reduce such collisions,” but it later qualifies that direction: “The practicality and
22   effectiveness of measures to reduce ship strike mortalities should be assessed.” NMFS
23   References 9560, 9565 (Doc. 197). For humpback whales, Plaintiffs invoke a critical habitat
24   designation that was issued well after the BiOp. Pls.’ Mot. at 7 (citing 86 Fed. Reg. 21,082
25   (Apr. 21, 2021)). This presentation poses two problems. First, challenges to agency action
26   cannot rely on NMFS’s findings that post-date the challenged decision. Second, and ironically,
27   NMFS’s designation of critical habitat along the California coast for both the Central America
28   and Mexico DPSs of humpback whales fundamentally undermines Plaintiffs’ insinuation that

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 1   NMFS has not taken the type of activity required by the recovery plans.8 86 Fed. Reg. at
 2   21,155-56.
 3   II.     Leatherback Sea Turtles
 4           The leatherback sea turtle, Dermochelys coriacea, was listed as endangered under the
 5   precursor law to the ESA and remained on the list after Congress passed the ESA. See 35 Fed.
 6   Reg. 8491 (June 2, 1970)); NMFS AR 43. Critical habitat was designated in 2012. 77 Fed. Reg.
 7   4170 (Jan. 26, 2012). Leatherbacks are distinct because of their eponymous soft shell, and they
 8   lead a pelagic existence, which means that they are often found just below the surface of the
 9   water. NMFS AR 43-44, 48. Leatherbacks are widely distributed throughout the world, and in
10   the eastern Pacific generally nest in Mexico, Costa Rica, and Nicaragua. NMFS AR 43-44.
11   They are often found aggregating along the coast of California because of the high density of
12   primary prey, which is the brown sea nettle. NMFS AR 44, 48. Due to the turtles’ extensive
13   range, studies of their abundance and distribution are difficult; however, the most recent
14   estimate at the time the BiOp was written was 178 leatherbacks off the coast of California.9
15   NMFS AR 47-48. The threats to leatherbacks include fishery bycatch, impacts to nesting
16   beaches, predation, marine debris, climate change, and vessel strikes. NMFS AR 48-50, 60.
17   III.    Establishment and Amendment of TSSs on the California Coast
18           Ship movement is governed at the global level by the IMO, which has authority under
19   the International Convention for the Safety of Life at Sea (SOLAS) to adopt routing measures,
20   such as TSSs. See 32 U.S.T. 47, T.I.A.S. No. 9700 (Nov. 1, 1974).10 The first version of
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      Plaintiffs also overlook evidence in the record showing other efforts taken by NMFS and
23   USCG to identify and implement measures prior to the 2017 BiOp. USCG AR 483-88.
     9
24    In another impermissible reference to a post-decisional document, Plaintiffs invoke a Federal
     Register notice about leatherback DPSs in order to indicate a lower population estimate. Pls.’
25   Mot. at 7-8. Plaintiffs state that the estimate was 54 turtles, but the page cited for this number
26   and the quoted language refer to a 2018 study.
     10
27      The section of SOLAS 1974 on “Ships’ routeing” was moved from Chapter V, Regulation 8
     to Chapter V, Regulation 10 in 2000. See IMO Resolution MSC.99(73) (adopted Dec. 5, 2000),
28   https://wwwcdn.imo.org/localresources/en/KnowledgeCentre/IndexofIMOResolutions/MSCRes
     olutions/MSC.99(73).pdf (last visited Mar. 17, 2022). Regulation 10 states that the IMO “is
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 1   SOLAS was signed in 1914 after the Titanic disaster, and thus TSSs in the North Pacific and
 2   elsewhere have their origins in the North Atlantic.11 The first TSSs off San Francisco, in the
 3   Santa Barbara Channel, and in the approaches to Los Angeles/Long Beach were adopted by the
 4   IMO in 1968, 1969, and 1975, respectively. 64 Fed. Reg. 32,451 (June 17, 1999).
 5           In 1978, Congress amended the PWSA to give USCG responsibility for vessel traffic
 6   services. Pub. L. 95-474, 92 Stat. 1471 (Oct. 17, 1978). One year after those amendments,
 7   USCG initiated PARS for 32 areas around the United States, including those areas along the
 8   coast of California. NMFS AR 120. Over the next two decades, USCG engaged in various
 9   PARS related to the ports in San Francisco and Los Angeles/Long Beach, and submitted
10   numerous proposals to amend TSSs to the IMO, which were subsequently adopted. NMFS AR
11   123; USCG AR 359-60, 433-35. In late 2009 and early 2010, USCG determined that it should
12   re-evaluate the existing TSSs in the California ports based on new information. USCG AR 27-
13   30, 152-55. The resulting PARS led USCG to propose amendments to the existing TSSs, which
14   were adopted by the IMO in December 2012. USCG AR 459-505.
15        A. San Francisco TSS
16           The record reveals that USCG engaged in a thorough process for amending the San
17   Francisco TSS. First, the PARS announcement invited public comment. USCG AR 28-30. Next,
18   USCG hosted public meetings. E.g., USCG AR 231-54, 269-70. The final PARS included
19   responses to the comments received during the process and an explanation of USCG’s
20   recommendation. USCG AR 351-94. Of particular relevance, USCG determined that
21   adjustments to the northern approach would shift it away from the Cordell Bank and Point
22   Reyes Areas of Sensitive Biological Significance (ASBS). USCG AR 376, 384-85. Likewise,
23   the extension and reconfiguration of the western approach would reduce the risk of whale
24   strikes by moving the outer edge past the continental shelf and would help avoid the Farallon
25
26
     recognized as the only international body for developing guidelines, criteria and regulations on
27   an international level for ships’ routeing systems.” Id. at 122.
     11
28     SOLAS 1914 is available at https://archive.org/details/textofconvention00inte
     /page/n5/mode/2up?view=theater (last visited Mar. 17, 2022).
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 1   Islands ASBS. USCG AR 384-85. USCG also considered extending the southern approach by
 2   8.5 nautical miles to improve predictability as vessels moved through fishing grounds. Id.
 3           Aided by the PARS, the United States submitted to the IMO proposed amendments to
 4   the San Francisco TSS. That document explained that blue, humpback, and fin whales are found
 5   in the approaches to San Francisco, often along the continental shelf break and near the Cordell
 6   Bank and south of the Farallon Islands. USCG AR 469. It added that the proposal would
 7   “reduce spatial overlap of ships and whales” in these areas. Id. These adjustments are captured
 8   in the following map, which is taken from USCG AR 645.
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21       B. Santa Barbara Channel, Los Angeles/Long Beach TSSs

22           USCG followed a similar process for the amendments to the approaches to the ports of

23   Los Angeles/Long Beach and to the configuration of the lanes in the Santa Barbara Channel.

24   USCG began by seeking public comment on the PARS and then holding public meetings.

25   USCG AR 153-55, 229. The final PARS considered narrowing the Santa Barbara Channel TSS,

26   and thus shifting it away from the Channel Islands, and considered establishing a new TSS

27   south of the Channel Islands where voluntary lanes established by the Los Angeles-Long Beach

28   Harbor Safety Committee already exist. USCG AR 435-47, 453-57. In response to the proposal

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 1   to eliminate the existing Santa Barbara Channel TSS, USCG stated that doing so “could result
 2   in marine casualties and irregular traffic patterns with potential for increased impacts on marine
 3   mammals.” USCG AR 450.
 4           The United States’ submission to the IMO contained three documents. First, the United
 5   States proposed amending the Santa Barbara Channel TSS by narrowing the separation zone
 6   and moving the southernmost boundary of the inbound lane one nautical mile to the north. This
 7   proposal recognized that the “channel’s abundant marine life and high seasonal production of
 8   krill play an important role in the feeding patterns of migratory whales” and aimed to “reduce
 9   the co-occurrence of ships and whales.” USCG AR 460-66. The Santa Barbara Channel
10   proposal to the IMO did not include a lane south of the Channel Islands because it would
11   overlap with the Navy’s Point Mugu Sea Range and IMO-adoption of a TSS in the location
12   could pose a risk to public safety and national security. See USCG AR 260-67, 522-23. Second,
13   the United States provided background on the rationale for shifting the Santa Barbara Channel
14   lane. USCG AR 483-88. Third, the United States proposed a narrowing of the western
15   approaches into Los Angeles/Long Beach to align with the Santa Barbara Channel. USCG AR
16   475-81.These changes to the TSSs are captured in the following map from USCG AR 646.
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 1           The IMO adopted all of the United States’ proposed amendments to the California TSSs
 2   in December 2012. USCG AR 490-505.
 3   IV.     Initiation of Section 7 Consultation
 4           Against this backdrop, which is largely ignored by Plaintiffs, USCG determined that it
 5   needed to consult with NMFS under ESA Section 7, and thus initiated consultation in October
 6   2014. USCG AR 515-25. In a letter to NMFS, USCG stated that California TSSs have “no
 7   influence on the volume, type, or speed of vessel traffic to and from the subject ports,” but do
 8   “increase vessel traffic safety and predictability and reduce the probability of vessel collisions
 9   that could cause fuel or other chemical spills” while also potentially reducing the effects on
10   ESA-listed species and critical habitat by “steering vessels away from known breeding grounds
11   and migratory corridors.” USCG AR 524.
12   V.      NMFS’s 2017 No-Jeopardy BiOp
13           NMFS issued its BiOp on the California TSSs on February 23, 2017. NMFS AR 1-
14   143.12 Because NMFS had not previously consulted on any of these TSS designations, it
15   considered the proposed action to cover the entirety of the TSSs adopted by the IMO in 2012,
16   and not simply the adjustments to the previously adopted TSSs. NMFS AR 9. To inform this
17   broader scope, NMFS included a history of shipping lanes in California. NMFS AR 119-24.
18   Then NMFS thoroughly reviewed the status of each of the four species that may be adversely
19   affected and examined the environmental baseline. NMFS AR 20-65, 125-43. Pursuant to the
20   ESA implementing regulations, the baseline considered the “past and present impacts of all
21   Federal, State, or private actions and other human activities in the action area.” 50 C.F.R. §
22   402.02 (emphasis added). Specifically, NMFS looked at shipping, fishing, wildlife watching,
23   scientific research, noise, and climate change. Next, the agency analyzed the effects of the
24   proposed action, which is USCG’s designation and adjustments of TSSs in California coastal
25   waters. NMFS examined the effects flowing from that action through three lenses: (1) exposure;
26
     12
27     USCG reinitiated consultation in 2020. NMFS AR 144-49. The ongoing consultation does not
     render the existing BiOp invalid. See Oceana v. Bureau of Ocean Energy Mgmt., 37 F. Supp. 3d
28   147, 181 n.32 (D.D.C. 2014) (“courts have found that re-initiation of consultation does not
     render a former Biological Opinion invalid”) (citation omitted).
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 1   (2) response; and (3) risk. NMFS AR 65-98. NMFS determined that the overall risk of vessel
 2   strikes to whales and turtles would be reduced by the TSSs. NMFS AR 94. Consistent with the
 3   ESA regulations, NMFS did not include an ITS because take is not reasonably certain to occur
 4   from the proposed action. NMFS AR 98.
 5                                       STANDARD OF REVIEW
 6           Challenges to agency consultations under Section 7 of the ESA are reviewed under the
 7   Administrative Procedure Act (APA). 5 U.S.C. § 706; San Luis & Delta-Mendota Water Auth.
 8   v. Jewell, 747 F.3d 581, 601 (9th Cir. 2014). Under the APA, courts may set aside an agency’s
 9   action only if it is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
10   with law.” 5 U.S.C. § 706(2)(A). An agency determination is arbitrary and capricious if “the
11   agency has relied on factors which Congress has not intended it to consider, entirely failed to
12   consider an important aspect of the problem, offered an explanation for its decision that runs
13   counter to the evidence before the agency, or is so implausible that it could not be ascribed to a
14   difference in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm
15   Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). A court must only “consider whether the decision
16   was based on a consideration of the relevant factors and whether there has been a clear error in
17   judgment.” Id. This standard of review is narrow and “[t]he court is not empowered to substitute
18   its judgment for that of the agency.” Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402,
19   416 (1971). Courts are most deferential “where, as here, the challenged decision implicates
20   substantial agency expertise.” Mt. Graham Red Squirrel v. Espy, 986 F.2d 1568, 1571 (9th Cir.
21   1993); see Balt. Gas & Elec. Co. v. Nat. Res. Def. Council, 462 U.S. 87, 103 (1983).
22                                              ARGUMENT
23   I.      Plaintiffs Lack Standing.
24           Before this Court considers the merits of the issues raised, it must determine whether it
25   has jurisdiction. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998). The
26   declarations provided by Plaintiffs’ members in support of standing fail to satisfy the second
27   and third elements—causation and redressability—and therefore the Court lacks jurisdiction.
28   The constitutional minimum of standing contains three elements. Lujan v. Defs. of Wildlife, 504

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 1   U.S. 555, 560-61 (1992). First, a plaintiff must allege an invasion of a legally protected interest
 2   that is concrete and particularized and that is actual or imminent and not conjectural. Id. at 560;
 3   see Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016). Second, there must be a causal connection
 4   between the injury and the conduct complained of. Lujan, 504 U.S. at 560. Third, it must be
 5   likely, as opposed to merely speculative, that the injury will be redressed by a favorable
 6   decision. Id. at 561. A plaintiff has the burden of alleging facts that “affirmatively” and
 7   “clearly” demonstrate standing. FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 231 (1990)
 8   (citations omitted). And, “when the plaintiff is not himself the object of the government action
 9   or inaction he challenges, standing is not precluded, but it is ordinarily ‘substantially more
10   difficult’ to establish.” Lujan, 504 U.S. at 562 (citations omitted). An organization can establish
11   standing as a representative of its members or on its own behalf. Am. Diabetes Ass’n v. U.S.
12   Dep’t of the Army, 938 F.3d 1147, 1154 (9th Cir. 2019). In their Motion, organizational
13   Plaintiffs assert standing on behalf of their members, but they fail to demonstrate that a member
14   from each organization “would otherwise have standing to sue in their own right.” Friends of
15   the Earth v. Laidlaw Env’t Servs. (TOC), 528 U.S. 167, 181 (2000).
16        A. Plaintiffs Have Not Shown Causation.13
17           To satisfy the second prong of standing—causation—“Plaintiffs must show that the
18   injury is causally linked or ‘fairly traceable’ to the Agencies’ alleged misconduct, and not the
19   result of misconduct of some third party not before the court.” Wash. Env’t Council v. Bellon,
20   732 F.3d 1131, 1141 (9th Cir. 2013). Plaintiffs fail to meet this requirement because their
21   standing declarations do not show a causal link between their alleged injuries and NMFS’s and
22
     13
       Plaintiffs may contend that Claim I centers on a procedural violation and is thus subject to a
23   lower threshold for causation and redressability. That argument would be flawed as Plaintiffs
     have lodged substantive challenges to the BiOp based on allegations that it was “arbitrary and
24
     capricious, an abuse of discretion, or otherwise not in accordance with the law.” 5 U.S.C. §
25   706(2)(A); Dkt. No. 1 at 32, Prayer for Relief ¶ 1. None of the substantive arguments allege any
     omitted procedure set forth in APA Section 553, nor do any of the arguments allege that NMFS
26   acted “without observance of procedure required by law.” 5 U.S.C. § 706(2)(D). Construing an
27   arbitrary and capricious challenge as a procedural violation would render Congress’s distinction
     between APA Section 706(2)(A) and 706(2)(D) superfluous. Thus, the Court should evaluate
28   Plaintiffs’ standing under the traditional Article III standing inquiry. Even if the bar is lowered,
     however, Plaintiffs still cannot meet the causation and redressability requirements.
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 1   USCG’s actions related to the BiOp. See Bender v. Williamsport Area Sch. Dist., 475 U.S. 534,
 2   546 (1986) (stating that a plaintiff’s basis for standing must “affirmatively appear in the
 3   record”). The declarants suggest, in very broad terms, that they are harmed by vessel strikes
 4   because such collisions may reduce their ability to observe whales and turtles, but the declarants
 5   fail to connect any dots between vessel strikes and NMFS’s BiOp, or vessel strikes and USCG’s
 6   actions taken in reliance on the BiOp. In fact, none of the declarants even mentions the BiOp.
 7   Instead, the declarants use “vague, conclusory statements.” Wash. Env’t Council, 732 F.3d at
 8   1142; see, Dkt. No. 41-3 (Bevington Decl.) ¶ 29 (“the government will not take steps to protect
 9   these species from vessel strikes”); Dkt. No. 41-4 (Hartl Decl.) ¶ 4 (referring to USCG and
10   NMFS “fail[ing] to comply with the [ESA] and establish protective measures”); Dkt. No. 41-5
11   (Keever Decl.) ¶ 10 (expressing concern about the agencies “not ensur[ing] that the shipping
12   lanes avoid or mitigate harm”). The Court lacks jurisdiction to hear such generalized complaints
13   divorced from “some substantive government decision that may have been wrongly decided.”
14   Fla. Audubon Soc’y v. Bensten, 94 F.3d 658, 668 (D.C. Cir. 1996) (en banc); see Lujan v. Nat’l
15   Wildlife Fed’n, 497 U.S. 871, 891 (1990) (noting that challenges to actions are not ripe for
16   review “until the scope of the controversy has been reduced to more manageable proportions”).
17           The lack of causation is further underscored by the timing and uncertainty around the
18   statements in the declarations. For example, the only definitive whale-watching trips discussed
19   in the Keever Declaration occurred in 2009 and 2010. Keever Decl. ¶ 6. But these timeframes
20   precede the issuance of the BiOp and any actions taken in reliance of the BiOp. Moreover, the
21   only declaration to mention injured whales—the Bevington Declaration—describes seeing a
22   dead humpback whale and a dead sperm whale, but the humpback was “likely” killed by ship
23   strike and he is “uncertain” whether the sperm whale was a ship strike. Bevington Decl. ¶¶ 24-
24   25. Those sightings also occurred before the BiOp was issued. The timing and uncertainty
25   undermine the link between not only vessel strikes and plaintiffs’ injury, but also the agencies’
26   actions and vessel strikes. Without more, the declarants fail to establish with a “reasonable
27   probability” that the challenged actions posed a threat to Plaintiffs’ interests. Hall v. Norton,
28   266 F.3d 969, 977 (9th Cir. 2001).

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 1           Plaintiffs cannot salvage causation by reference to their Complaint because at this stage
 2   of a case, “the plaintiff can no longer rest on . . . ‘mere allegations.’” Lujan, 504 U.S. at 567.
 3   Rather, the plaintiff “must ‘set forth’ by affidavit or other evidence ‘specific facts.’” Id. at 561.
 4   Nor can Plaintiffs’ standing be inferred from their opening brief because the “necessary factual
 5   predicate [for jurisdiction] may not be gleaned from the briefs and arguments themselves.”
 6   Bender, 475 U.S. at 547 (citations omitted). Even assuming arguendo that Plaintiffs could lean
 7   on these slender reeds, they would not bear the weight because “a multitude of independent
 8   third parties are responsible for . . . Plaintiffs’ injuries.” Wash. Env’t Council, 732 F.3d at 1144.
 9   Namely, the vessels and their operators represent third parties that directly cause the harm to
10   ESA-listed whales and turtles. Indeed, the Keever Declaration highlights the conduct of these
11   intervening non-defendant parties when it states that Plaintiff Friends of the Earth “strives for a
12   healthier and just world, in particular, by protecting marine ecosystems from shipping industry
13   and industrial vessel traffic impacts. . . .” Keever Decl. ¶ 7 (emphasis added). The impacts
14   attributable to vessel strikes are caused by the independent, discretionary choices of vessel
15   operators, who are not parties to this suit. See Lujan, 504 U.S. at 562.
16        B. Plaintiffs Have Not Shown Redressability.
17           Plaintiffs also fail to satisfy the third prong of standing—redressability—because their
18   declarations do not show that the relief requested is “‘likely,’ as opposed to merely
19   ‘speculative,’” to redress any of their alleged injuries. Lujan, 504 U.S. at 561 (citation
20   omitted). Plaintiffs ask the Court to declare that NMFS and USCG are violating the ESA, order
21   the agencies to complete reinitiated consultation, and order USCG to adopt measures pending
22   completion of the reinitiated consultation.14 Dkt. No. 1, Prayer for Relief ¶¶ 1-7. Because
23   Plaintiffs have not advanced merits arguments on Claims III, IV, and V, they presumably have
24   abandoned the related relief, i.e., declarations that the agencies have violated ESA Section
25   7(a)(2) for failing to reinitiate, ESA Section 7(d), and ESA Section 9, as well as orders tied to
26   the reinitiated consultation. Id. ¶¶ 3-7. Thus, Plaintiffs’ remaining relief would be a declaration
27   14
       Defendants recognize that remedy briefing will occur, if at all, following the merits, but
28   discuss remedy here to present Defendants’ position on redressability, which requires
     examination of the connection between the alleged injury and requested relief.
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 1   that the BiOp and USCG’s reliance on it violate Section 7(a)(2). Plaintiffs have not asked for
 2   the BiOp to be remanded or vacated. Nor have they asked for the TSSs to be vacated.
 3           As with causation, the declarations fail to show with any specificity how this remaining
 4   declaratory relief is likely to redress Plaintiffs’ alleged injuries. The Hartl Declaration makes
 5   no reference to relief from the Court. The only part of the Bevington Declaration that could be
 6   viewed as referring to redress is a generalized statement that the “litigation protects my
 7   recreational interests . . . by seeking to force action.” Bevington Decl. ¶ 27. And the sole
 8   mention of redress in the Keever Declaration is a conclusory statement that a favorable
 9   decision would “mean that I will be less concerned that whales will be struck and killed,”
10   Keever Decl. ¶ 11. Such “general statements” in Plaintiffs’ affidavits “do not satisfactorily
11   show how or why the [relief] will ameliorate the alleged harm.” Ctr. for Biological Diversity v.
12   Lueckel, 248 F. Supp. 2d 660, 675 (W.D. Mich. 2002), aff’d, 417 F.3d 532 (6th Cir. 2005).
13   Much more is needed to adequately establish redressability at this stage.
14           Even if parts of Plaintiffs’ requested relief are not foreclosed by a failure to pursue the
15   claims, and even if Plaintiffs could escape the holes in the declarations by relying on counsel’s
16   articulations, “redress[a]bility poses an upstream battle” because of the possible breaks in the
17   causal chain. Salmon Spawning & Recovery All. v. Gutierrez, 545 F.3d 1220, 1228 (9th Cir.
18   2008); see Allen v. Wright, 468 U.S. 737, 753 n.19 (1984) (describing causation and
19   redressability as “two facets of a single causation requirement”). First, if the Court declares that
20   the BiOp is unlawful, vessels would still enter and exit the California ports, and thus they would
21   still pose a threat to turtles and whales. The fundamental problem with Plaintiffs’ challenge is
22   that the BiOp does not authorize vessel transit, and setting aside the BiOp simply would not
23   reduce the level of vessel traffic moving into and out of the ports or reduce vessel speeds. The
24   same would be true if the Court declares that USCG acted unlawfully. Moreover, if the Court
25   orders the United States to amend or alter the TSSs, any U.S. proposal would be subject to
26   review by the IMO, which could reject or modify the changes. In either scenario, there would be
27   intervening parties that are not before the Court—the vessel operators and the IMO. Where, as
28   here, redressability “depends on the unfettered choices made by independent actors not before

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 1   the courts . . . it becomes the burden of the plaintiff to adduce facts showing that those choices
 2   have been or will be made in such manner as to produce causation and redressability of injury.”
 3   Lujan, 504 U.S. at 562 (citation omitted). Plaintiffs utterly fail to meet this burden.
 4           In addition, to the extent Plaintiffs are seeking an order requiring USCG to adopt a
 5   measure related to ship speed pending completion of the reinitiation, USCG does not have the
 6   authority under the PWSA, or any other statute that it administers, to require speed limits for the
 7   sole purpose of protecting marine species. See 46 U.S.C. § 70003(a) (stating that in designating
 8   TSSs, the Secretary “shall recognize, within the designated area, the paramount right of
 9   navigation over all other uses”); id. § 70001(a)(4) (stating that the Secretary “may control vessel
10   traffic in areas subject to the jurisdiction of the United States that the Secretary determines to be
11   hazardous, or under conditions of reduced visibility, adverse weather, vessel congestion, or other
12   hazardous circumstances”). Relatedly, Plaintiffs incorrectly assert they have no other remedy at
13   law. Dkt. No. 1 ¶ 19. Interested parties can petition for the issuance, amendment, or repeal of a
14   rule. 5 U.S.C. § 553(e); see 33 C.F.R. § 1.05-20. In fact, Plaintiffs fail to mention that Plaintiff
15   Center for Biological Diversity has availed itself of the petition process for ship speeds.15
16   II.     NMFS Fully Complied with the ESA.
17           The 2017 BiOp issued by NMFS represents a careful, science-based analysis of how the
18   organization of vessel traffic through the TSSs may affect the ESA-listed whales and turtles in
19   the areas around the ports of San Francisco and Los Angeles/Long Beach, including the Santa
20   Barbara Channel. NMFS determined that the TSSs would reduce the overall risk to the ESA-
21   listed species and that the TSSs would not jeopardize the ESA-listed species. NMFS AR 19-20;
22   97-98. NMFS reached these conclusions through an exposure analysis that identified potential
23   effects of the TSSs and then compared those effects with the absence of TSSs, which it
24   described as a no-lane scenario. This approach was not an effort to “obscure,” as Plaintiffs
25   insinuate. Pls.’ Mot. at 23. Instead, this comparison was an effort to isolate and amplify the
26   potential effects not only of the TSS amendments that were adopted in 2012, but of the TSSs in
27
     15
28     The petition is available at https://www.biologicaldiversity.org/campaigns/boat_strikes/pdfs
     /21-04-28-Ship-speed-petition.pdf (last visited Mar. 17, 2022).
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 1   their entirety. To fully understand these effects, and in order to avoid the type of piecemeal,
 2   gradual assessment that courts have rejected, NMFS considered a scenario in which the lanes
 3   were removed entirely. The difference between no TSSs at all and the TSSs as they exist now
 4   thus provided NMFS with the best opportunity to understand the effects of the entire action.
 5   This analysis represents the type of comprehensive analysis that Plaintiffs claim to want in this
 6   case. Based on this analysis of the full effects, NMFS calculated that the potential risk of the
 7   entire action was lower than no action at all, i.e., a shipping world without TSSs. NMFS AR 94-
 8   97. A close reading of the BiOp shows that NMFS’s conclusions are sound.
 9           Plaintiffs’ effort to cast doubt on NMFS’s conclusions should be rejected. First,
10   Plaintiffs fundamentally misunderstand NMFS’s no-lane approach to the exposure analysis.
11   Pls.’ Mot. at 17-25. Among other errors, they ignore the key element of NMFS’s analysis—that
12   traffic will be more dispersed without TSSs—and instead rely on a nonexistent assumption that
13   “TSS designations have no effect.” Id. at 20. Also telling is what Plaintiffs do not say in their
14   motion: although they challenge the structure of the exposure analysis, they do not criticize the
15   details of that analysis, including the overlay between the TSSs and whale densities and the
16   studies that examine the difference between areas with TSSs and areas without TSSs. Plaintiffs’
17   assertions on the best available science related to humpback whales are wide of the mark. Id. at
18   25-28. In addition, Plaintiffs fail to rebut NMFS’s rational conclusion that an ITS is not
19   necessary because take is not reasonably certain to occur. Id. at 28-30.
20       A. NMFS Reasonably Structured Its Effects Analysis.
21           At the heart of NMFS’s BiOp is a conservative analysis aimed at magnifying the
22   potential exposure between vessels and the listed whales and turtles. NMFS AR 65-70. To
23   determine the exposure for each part of the California TSSs, NMFS engaged in a two-pronged
24   analysis. First, NMFS relied on various tools, including habitat-based models, a report on key
25   biological areas, and satellite data on individual whales, to predict whale densities and overlaid
26   each of the TSSs onto those densities. NMFS AR 70-71. Second, NMFS compared the
27   California TSSs with the no-lane scenario. Id. The no-lane scenario was based on the reasonable
28   assumptions that “ship traffic would generally occur in the same areas” with or without the

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 1   TSSs and that “the distribution in the no-lane scenario would be more dispersed or fanned out
 2   than with the TSSs in place,” with the exception of areas that had physical constraints, such as
 3   oil platforms. NMFS AR 67-68. Both of these assumptions find support in the literature
 4   reviewed by NMFS related to areas without traffic lanes. Id. For example, the Fonnesbeck et al.
 5   (2008) and Lageux et al. (2011) studies showed that for ports in Georgia and Florida without
 6   lanes, the vessel movement was not only occurring but also fanned out. NMFS AR 68 (citing
 7   NMFS References 18024-31 (Doc. 88, Fonnesbeck et al.); 18000-08 (Doc. 132, Lageux et al.);
 8   see also NMFS References 18960-73 (Doc. 97, Guzman et al. (2013)); NMFS References
 9   18894-912 (Doc. 148, McKenna et al. (2012)). Drawing a comparison to the no-lane scenario
10   makes sense here because the lanes do not alter the volume of traffic; rather, they impact the
11   location of those vessels. See NMFS AR 69 (“NMFS is assessing the effects of the organization
12   of shipping traffic into these lanes, not the number, frequency, type, or speed of the traffic.”).
13           NMFS employed this approach to all of the TSSs, and the text of the BiOp, which
14   Plaintiffs largely ignore, shows how the agency conducted that analysis. NMFS divided the
15   Santa Barbara Channel into two sections, with Section 1 running through the Channel itself and
16   Section 2 running between Ventura and Los Angeles counties. For the first prong of the analysis
17   on Section 1, NMFS examined whale densities from the Redfern et al. study (2013), and found
18   that the likelihood of co-occurrence between whales and vessels would be highest in those areas
19   with greater concentrations of blue and humpback whales, which occur at the western endpoint
20   and the 200-meter depth, and in areas with greater concentrations of fin whales, which occur
21   beyond the end of the TSS. NMFS AR 74-78; NOAA Reference 19590-600 (Doc. 196, Redfern
22   et al. (2013)). For the second prong, NMFS considered the exposure in the absence of TSSs.
23   NMFS AR 77-78; see NMFS References 9367-76 (Doc. 116, Irvine et al. (2014)). In essence,
24   this involved NMFS removing the overlaid TSSs from the whale density maps and applying
25   more dispersed vessel traffic.16 Although NMFS acknowledged that dispersal in Section 1
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27   16
       Satellite data in the Irvine et al. (2014) study identified a high concentration of blue whales
     just south of the TSS’s western end and determined that dispersed vessels would more likely
28   overlap with those hotspots. NMFS AR 77-78.
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 1   would be limited by the oil platforms and the physical location of the Channel Islands, it
 2   determined that distribution would nevertheless be wider without the TSS and rationally
 3   concluded that the TSS “decreases the overlap of ships and whales.” NMFS AR 78. In other
 4   words, the whales’ exposure to ships would be reduced. NMFS reached a similar conclusion for
 5   leatherbacks, though the species is less likely to be present. NMFS AR 78-79.
 6             The analyses performed for Section 2 of the Channel Islands and the TSS approaches to
 7   Los Angeles/Long Beach were more straightforward but no less relevant. NMFS AR 78-79. For
 8   the first prong, NMFS noted that neither of the areas is a predictable feeding location, but noted
 9   that whales and turtles have been observed and thus could be affected by vessels. NMFS AR 79.
10   However, under the second prong, NMFS found that the areas were not constrained by oil
11   platforms and geography, and thus greater dispersal of vessels in the absence of TSSs was
12   likely. NMFS AR 79-80.
13             NMFS engaged in a similar analysis for each of the three approaches to the port of San
14   Francisco. NMFS AR 80-89.17 As part of the first prong of the analysis, NMFS reviewed habitat
15   models of whale density for the fin, humpback, and blue whales, as well as sighting and
16   automatic identification system (AIS) data. The overlay with the TSS revealed that humpback
17   and blue whale densities in and around the port are greater than the fin whale density. NMFS
18   AR 83-85 (citing NMFS References 19985-20035 (Doc. 33, Becker et al. (2012)). NMFS also
19   looked closely at each approach. “Based on habitat models and sighting data,” NMFS
20   determined that the southern approach “is not an area of high density of blue, fin or humpback
21   whales relative to the surrounding area.” NMFS AR 86. For the western approach, NMFS
22   determined that the lane passes over and extends past the 200-meter isobath and the continental
23   slope, which are highly productive parts of the ocean and thus important foraging areas for
24   whales.18 NMFS AR 87, 51. For the northern approach, NMFS ascertained that the lane passes
25   through an area of higher relative abundance of blue and humpback whales. NMFS AR 88.
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27   17
       As with the Santa Barbara Channel and Los Angeles/Long Beach TSSs, this analysis included
     an assessment of leatherback sea turtles. NMFS AR 81, 86-90; see also NMFS AR 71.
28
     18
          An isobath is a measurement that connects points having the same depth.
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 1           Next, NMFS effectively removed the TSSs from the maps and models to conduct the
 2   second prong of the analysis for each approach to San Francisco. Looking southward first,
 3   NMFS concluded that the vessels would be distributed more widely under the no-lane scenario.
 4   NMFS AR 86. This conclusion meant that the existence of the lane reduced the co-occurrence
 5   of whales and ships. Id. One study provided insights for both the western and northern
 6   approaches—namely, the Dransfield et al. (2014) study illustrated the impact of 2012 TSS
 7   amendments on ship distribution. NMFS AR 88-89; NMFS References 17864-82 (Doc. 78,
 8   Dransfield et al. (2014)). NMFS recognized that this was not exactly the same as a no-lane
 9   scenario because it compared two versions of the lanes, but nonetheless, the study proved useful
10   for understanding distribution in an area without a TSS. In particular, the images in Figure 19
11   show that ship traffic was more widely distributed to the west and north under the TSS prior to
12   2012, which did not extend as far. NMFS AR 89.
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24           These images are particularly relevant because they also show the density of humpback
25   whales and demonstrate that the broader the distribution, the greater the likelihood of co-
26   occurrence. NMFS also returned to the Irvine et al. (2014) study for the analysis on the northern
27   approach; this study suggested that there may be a small difference in the core feeding areas.
28   NMFS AR 88-89. This evidence, combined with the literature on areas without TSSs, supports

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 1   NMFS’s conclusion that the TSSs reduce the overall exposure profile for these approaches. The
 2   conclusion is bolstered by evidence on blue and humpback whale sightings at the Point Blue
 3   Conservation Center, which shows that “almost all of the observed and reported animals were
 4   seen outside of the shipping lanes.” NMFS AR 90-92. Thus, in a scenario without TSSs, the
 5   evidence indicates that there would be a higher chance of whale-ship interactions.
 6           Based on this methodical analysis, NMFS determined that while there may be an
 7   increase in exposure at the site-specific level due to the increase in concentration of vessels in
 8   the lanes, it is “generally outweighed by the overall decreased overlap between shipping traffic
 9   and areas where whales and leatherback turtles may occur.” NMFS AR 90. But the jeopardy
10   analysis did not end there. NMFS also considered potential responses from the ESA-listed
11   species, and concluded that the agency did not have information indicating a response based on
12   the concentration of vessels. NMFS AR 93-94. Lastly, NMFS analyzed the risk to whales and
13   turtles based on the exposure and response conclusions. Here, NMFS returned to the studies on
14   areas that do not have TSSs, which provided relevant statistics. For example, Fonnesbeck et al.
15   (2008) compared ship routes in the Southeast United States with baseline ship traffic with no
16   lanes and found a 27-44% reduction in co-occurrence in time and space of whales and ships
17   with TSSs. NMFS AR 94. Similarly, Lagueux et al. (2011) showed a risk reduction of 54.3%
18   following implementation of routes in the critical habitat of Northern right whales. Id.
19           Applying this evidence, NMFS concluded that any effects on fin whales and leatherbacks
20   were extremely unlikely and thus not likely to adversely affect them. NMFS AR 95-96. NMFS
21   further determined that the Santa Barbara Channel, Los Angeles/Long Beach, and the southern
22   and western approaches of the San Francisco TSSs would decrease the risk of whale exposure to
23   vessels, and that while the northern approach to San Francisco could increase exposure, the
24   “overall risk of a strike is decreased by constriction of shipping traffic patterns to the designated
25   lane versus the no-lane scenario.” NMFS AR 96-97. NMFS’s conclusions were reasonable and
26   should be upheld. See S.F. Baykeeper v. U.S. Army Corps of Eng’rs, 219 F. Supp. 2d 1001, 1024
27   (N.D. Cal. 2002) (finding that based on a “comparison of 1996 and 2010 ballast water
28   discharges, the agencies reasonably concluded that ballast water discharges would decline over

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 1   time” and adding that “even when compared with the ‘without project’ alternative, the projects
 2   are predicted to result in a long-term decrease in ballast water discharge”).
 3       B. Plaintiffs’ Misplaced Assertions About the BiOp’s Structure Should Be Rejected.
 4           Rather than engage with record evidence, Plaintiffs present flawed assertions about the
 5   no-lane scenario and the consideration of the environmental baseline. Pls.’ Mot. at 17-25.
 6           1. The Court Should Reject Plaintiffs’ Red Herring Assumption.
 7           As an initial matter, Plaintiffs mischaracterize NMFS’s ultimate conclusion on jeopardy
 8   as a finding that TSSs would “essentially have no effect on listed species.” Id. at 17; see also id.
 9   at 1 (misstating that the BiOp found the TSS would have “a negligible effect” on species). To be
10   clear, this is not a situation where the action agency determined the action would have “no
11   effect” on ESA-listed species. Endangered Species Consultation Handbook (1998) at xvi,
12   https://media.fisheries.noaa.gov/dam-migration/esa_section7_handbook_1998_opr5.pdf (last
13   visited Mar. 17, 2022) (defining “no effect”). Rather, USCG determined that the TSSs “may
14   affect” certain whales and turtles and then engaged in formal consultation with NMFS, which in
15   turn concluded that the action may adversely affect, but is not likely to jeopardize the continued
16   existence of those whales and turtles.
17           More problematic for Plaintiffs, however, is their misguided assault on the assumptions
18   underlying NMFS’s BiOp. According to Plaintiffs, the no-lane scenario “is based upon an
19   arbitrary, nonsensical assumption that TSS designations have essentially no impact on shipping
20   traffic patterns.” Pls.’ Mot. at 17. But Plaintiffs overlook one of NMFS’s two well-grounded
21   assumptions—that vessel traffic would be more dispersed if there were no TSSs. As described
22   above, that assumption is based in scientific literature and is central to NMFS’s analysis of the
23   specific TSSs and the evaluation of the California TSSs as a whole. See supra at 20. Plaintiffs
24   also misconstrue NMFS’s other assumption. Contrary to Plaintiffs’ view, NMFS has not
25   concluded that “TSS designations have no effect.” Id. at 20. Rather, NMFS assumed that vessel
26   traffic would “generally occur in the same areas” around the ports in the absence of TSSs.
27   NMFS AR 67; see NMFS AR 66 (“it is reasonable to assume that shipping existed in the
28   general areas where TSSs were later implemented” (emphases added)). Stated simply, this

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 1   means that ships have historically docked in San Francisco and Los Angeles/Long Beach and
 2   would continue to do so. Plaintiffs’ “no impact” assumption is a red herring at best and a
 3   mischaracterization at worst.19 Indeed, it is not clear why the United States would undertake to
 4   establish or modify TSSs if they had zero potential to influence vessel location and thus increase
 5   navigational safety. The Court should decline Plaintiffs’ invitation to rule against NMFS based
 6   on this red herring assumption.
 7           Plaintiffs build off of their misconceived notions about the assumptions when they
 8   invoke Defenders of Wildlife v. Gutierrez, 532 F.3d 913 (D.C. Cir. 2008), and Tulalip Tribes v.
 9   Kelly, Civ. No. 17-652 MJP, 2018 WL 453475 (W.D. Wash. Jan. 17, 2018), but this effort
10   collapses under scrutiny. Pls.’ Mot. at 19-20. Plaintiffs contend that the opinions in those cases
11   addressed the same assumption that “TSS designations have no real impact.” Id. at 19. But in
12   doing so, Plaintiffs misinterpret the cases. Defenders of Wildlife involved two questions—one
13   related to the merits of NMFS’s denial of a petition for an emergency rulemaking that would
14   limit ship speed and one related to whether USCG’s designation of TSS was final agency action
15   for purposes of the APA. 532 F.3d at 918-19. The court upheld the petition denial and found
16   that USCG had engaged in final agency action. Id. at 927-28. In Tulalip Tribes, USCG moved
17   to dismiss on two grounds—USCG challenged standing and argued that plaintiffs’ claim was
18   time-barred. 2018 WL 453475, at *2. Thus, neither court rejected an argument that TSS have
19   “no consequence.” Pls.’ Mot. at 19. Further, Defenders of Wildlife and Tulalip Tribes are inapt
20   because USCG had not engaged in Section 7 consultation in either case. This case, by contrast,
21   is a challenge to a BiOp that exists only because USCG has already determined that TSS
22   designations may affect ESA-listed species.
23           Plaintiffs also err in their effort to undermine NMFS’s effects analysis by referring to the
24   options reviewed by USCG through the PARS process. Pls.’ Mot. at 18-19 (stating that NMFS
25   “expressly concluded” that USCG did not choose an option for the Santa Barbara Channel that
26
     19
27     Plaintiffs assert that there is “no rational basis in fact or law” for NMFS’s assumption about
     TSS not directing traffic, but NMFS is not required to provide a basis for an assumption it did
28   not make. Id. at 17-18. Moreover, the assumptions that NMFS did make were supported by
     background materials and scientific literature. NMFS AR 67-68, 119-43.
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 1   “would appear to minimize the overall risk of ship strikes on whales”) (quoting USCG AR 442).
 2   Contrary to Plaintiffs’ suggestion, Section 7 consultation does not require that NMFS consider
 3   whether a more protective option was available. Under Section 7, NMFS examines whether the
 4   proposed action is likely to jeopardize ESA-listed species. 16 U.S.C. § 1536(a)(2); see Sw. Ctr.
 5   for Biological Diversity v. U.S. Bureau of Reclamation, 143 F.3d 515, 523 (9th Cir. 1998) (“The
 6   Secretary was not even required to pick the best alternative or the one that would most
 7   effectively protect the [species] from jeopardy.”). Plaintiffs’ assertion also elides the record
 8   evidence that explains why this particular option was not selected, namely, the overlap with the
 9   Point Mugu Naval Area. See supra at 11.
10           Plaintiffs’ misapprehension of Section 7 also undermines their complaint that the BiOp
11   is of “little conservation value” because it does not contain an ITS or reasonable and prudent
12   alternatives (RPAs). Pls.’ Mot. at 20. Section 7 does not require an ITS and RPAs for every
13   agency action. Instead, Section 7 requires agencies to ensure against jeopardy and, where an
14   action may affect a species, this requirement is achieved through a consultation process. 16
15   U.S.C. § 1536(a)(2). In those cases where formal consultation occurs, a BiOp is issued by the
16   consulting agency, but an ITS and RPAs are required if, and only if, take is reasonably certain
17   to occur (with respect to an ITS) and the action is likely to jeopardize species (with respect to
18   RPAs). 50 C.F.R. § 402.14(g)(7); 16 U.S.C. § 1536(b)(3)(A). Contrary to Plaintiffs’ suggestion,
19   conservation value can flow from the consultation process itself and the agency’s biological
20   opinion. Plaintiffs also ignore the conservation recommendations for USCG included at the end
21   of the BiOp. NMFS AR 98-99. Those recommendations highlight the coordination between
22   USCG and NMFS on issues related to whales and ship strikes.
23           2. Plaintiffs’ Skewed View of the Effects Analysis Should Be Rejected.
24           Plaintiffs compound their flawed arguments about NMFS’s effects analysis with
25   assertions that NMFS failed to engaged in a “comprehensive” jeopardy analysis on the “entire
26   proposed action” and that NMFS created an “elaborate” and “unlawful comparative lens.” Pls.’
27   Mot. at 21-24. The first part of this argument cannot be squared with the record evidence. As
28   noted above, NMFS examined more than the 2012 TSS amendments; it considered the full

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 1   scope of the TSSs adopted by the IMO because “NMFS and USCG ha[d] not previously
 2   engaged in consultation on the lanes as they existed prior to these IMO approved changes.”
 3   NMFS AR 9. That analysis of the TSSs was comprehensive because it covered all of the
 4   approaches designated under the TSSs and not simply the adjustments. And, contrary to
 5   Plaintiffs’ insinuation, NMFS added that effects analysis to the environmental baseline. NMFS
 6   AR 65 (referring to 50 C.F.R. § 402.02).20
 7           For the second part of their argument, Plaintiffs invoke cases in which courts invalidated
 8   certain types of comparative analysis, Pls.’ Mot. at 22-23, but, while there may be a superficial
 9   overlap here because NMFS has engaged in a “comparison,” a close reading of those other
10   cases and the facts in this one shows that the cases are inapposite. Plaintiffs lean heavily on the
11   line of cases involving the Federal Columbia River Power System (FCRPS), but as Plaintiffs
12   themselves acknowledge in their quotes from one of the decisions, that comparison was
13   different in kind. Pls.’ Mot. at 22-23 (citing, inter alia, Nat’l Wildlife Fed’n (NWF) v. Nat’l
14   Marine Fisheries Serv., Civ. No. 01-640-RE, 2005 WL 1278878 (D. Or. May 26, 2005)). In the
15   BiOp reviewed in NWF, NMFS analyzed only the effects of the discretionary actions related to
16   the operation of the FCRPS and consigned the other effects, including the non-discretionary
17   actions, to the baseline. 2005 WL 1278878, at *13. Those circumstances are not presented here
18   because NMFS did not engage in any segregation of the actions between discretionary and non-
19   discretionary actions or, as discussed below, consign any effects of the action to the baseline.
20           Plaintiffs face a similar roadblock for their reference to Turtle Island Restoration
21   Network v. U.S. Department of Commerce, 878 F.3d 725 (9th Cir. 2017), and American Rivers
22   v. NOAA Fisheries, No. CV-04-0061-RE, 2006 WL 1455629 (D. Or. May 23, 2006). Pls.’ Mot.
23
     20
       Plaintiffs quote a version of a regulation that post-dates the challenged decision. Pls.’ Mot. at
24
     21 (citing 50 C.F.R. § 402.14(g)(4) (2019)). The relevant regulatory language at the time of the
25   BiOp stated that the Services had to “[f]ormulate its biological opinion as to whether the action,
     taken together with cumulative effects, is likely to jeopardize the continued existence of listed
26   species or result in the destruction or adverse modification of critical habitat.” 50 C.F.R. §
27   402.14(g)(4) (2017). This improper reference to post-decisional regulatory language is all the
     more remarkable given that Plaintiff Center for Biological Diversity has challenged the 2019
28   regulations in litigation. Ctr. for Biological Diversity v. Haaland, 4:19-cv-5206-JST (N.D. Cal.).
     In any event, NMFS’s analysis was proper under either version of the regulations.
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 1   at 23. In the sentence that follows the one quoted by Plaintiffs, the Turtle Island court stated:
 2   “The BiOp’s no jeopardy opinion is premised on the proportionally low risk that the shallow-set
 3   fishery poses to the loggerheads relative to other threats. . . .” Id. at 738 (emphasis added).
 4   Here, unlike Turtle Island, NMFS’s no-jeopardy opinion did not turn on whether the TSSs were
 5   more or less threatening to whales and turtles than other factors in the environmental baseline,
 6   but that the effects of the proposed action when added to the environmental baseline were not
 7   likely to result in an appreciable reduction in the species’ likelihood of survival and recovery.
 8   Meanwhile, American Rivers involved a BiOp on the upper Snake River operations, which had
 9   been segmented from the FCRPS operations. 2006 WL 1455629, at *5. No such segmentation
10   occurred here. Plaintiffs’ misunderstanding of the BiOp is further highlighted by their citation to
11   Aluminum Company of America v. Bonneville Power Administration, 175 F.3d 1156 (9th Cir.
12   1999). Pls.’ Mot. at 24. NMFS’s analysis looked at more than staying the course—it
13   investigated the TSSs writ large.
14           In sum, Plaintiffs’ view that NMFS set up a “comparative sieve” is wrong. Pls.’ Mot. at
15   24. NMFS’s reliance on the no-lane scenario allowed it to more accurately assess the full scope
16   of the effects of the TSSs. That analysis showed that between the entire action—establishment
17   of TSSs—and the status quo ante—no TSSs—the former would reduce the overall risk. NMFS
18   AR 90. Thus, “unlike in NWF where the true adverse impact of the proposed agency action was
19   distorted and minimized—and possibly placing the listed species in ‘jeopardy’—here the
20   proposed agency actions improve the status quo.” Ctr. for Biological Diversity v. U.S. Bureau of
21   Land Mgmt., 746 F. Supp. 2d 1055, 1106 (N.D. Cal. 2009).
22           3. Plaintiffs’ Challenge to the Baseline Has No Basis in the Record.
23           Plaintiffs’ final argument about the structure of the BiOp overlooks record evidence,
24   confuses the effects of established shipping lanes with vessel strikes more broadly, and presents
25   another faulty gloss on their argument about the no-lane scenario. Pls.’ Mot. at 24-25. Plaintiffs
26   baldly assert that the BiOp “conflates” effects of the action with the baseline, but their only
27   support is a citation to a part of the BiOp that examines the shipping into and out of the ports
28   and a reference to the definition of environmental baseline. Id. at 24 (citing NMFS AR 52-61).

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 1   A review of those portions of the BiOp reveals that NMFS covered the issue of shipping
 2   generally, first by analyzing shipping patterns in and around the ports of California, and then by
 3   examining regulatory measures, including: a rule issued by the California Air Resources Board
 4   (CARB) that shifted traffic to the water south of the Channel Islands and to the western
 5   approach in San Francisco; an Emissions Control Area (ECA) approved by the IMO; and the
 6   vessel tracks for the Monterey Bay National Marine Sanctuary adopted by the IMO in 2001 to
 7   reduce the risk of oil spills and collisions in a part of the coast that has neither TSSs nor
 8   fairways. NMFS AR 52-57. These are quintessential aspects of an environmental baseline and
 9   underscore that the TSSs are one piece of a larger regulatory puzzle in the California waters.
10   Plaintiffs also fail to mention that NMFS expanded its discussion about shipping in Attachment
11   2 to the BiOp, which considered, inter alia, international shipping and which was referenced
12   multiple times in the environmental baseline section. NMFS AR 125-143, 52, 57-58.
13             Next, NMFS considered ship speed and strikes as part of the baseline. NMFS AR 58-61.
14   Contrary to Plaintiffs’ suggestion, this wider lens on the impacts of ships did not blur the line
15   between baseline and effects; instead, it provided an appropriately broad geographical view by
16   covering the U.S. west coast rather than just the TSSs. And, as discussed above, the effects of
17   the TSSs were fully considered in the effects analysis. In addition, the mere fact that NMFS
18   referenced the TSSs when discussing California coastal shipping patterns more generally does
19   not mean, a fortiori, that TSSs were discretionary actions incorrectly embedded in the baseline.
20   Pls.’ Mot. at 25.21 These TSSs have been in place since the late 1960s, and thus assessments of
21   baseline impacts tied to shipping over the last several decades are related, in part, to TSSs. In
22   fact, the existence of the TSSs at the time of this formal consultation is exactly why NMFS
23   utilized the no-lane scenario—otherwise, it would have been analyzing only the 2012
24   modifications, rather than the TSSs in their entirety. NMFS AR 7.
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28   21
          Here, too, Plaintiffs improperly invoke the regulations promulgated in 2019. Pls.’ Mot. at 25.
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 1           Plaintiffs’ arguments about the structure of the BiOp are misdirected. Moreover,
 2   Plaintiffs’ silence on NMFS’s analysis of whale densities and literature about the absence of
 3   TSSs speaks volumes about the soundness of the underlying science.
 4       C. NMFS Considered the Best Available Data.
 5           To fulfill the Section 7 consultation requirements, agencies must “use the best scientific
 6   and commercial data available.” 16 U.S.C. § 1536(a)(2). The record evidence in this case
 7   demonstrates that NMFS fully satisfied its obligation to consider both types of data in its BiOp.
 8   The BiOp’s references include more than 250 documents, many of which are scientific studies
 9   on whales and turtles. NMFS AR 100-18. These studies play a critical role in each part of
10   NMFS’s analysis, especially the status of the species section. NMFS also relied on the best
11   available commercial data when making its determinations about the environmental baseline,
12   and especially the section on shipping.
13           According to Plaintiffs, NMFS failed to use the best available scientific information,
14   Pls.’ Mot. at 25-28, but Plaintiffs chart a misguided course. First, Plaintiffs contend that NMFS
15   “ignored” the best available science on the humpback whales. Id. at 26. Yet the requirement to
16   rely on the best available data “merely prohibits [an agency] from disregarding available
17   scientific evidence that is in some way better than the evidence [it] relies on.” Ctr. for
18   Biological Diversity v. U.S. Fish & Wildlife Serv., 807 F.3d 1031, 1047 (9th Cir. 2015) (quoting
19   Kern Cnty. Farm Bureau v. Allen, 450 F.3d 1072, 1080-81 (9th Cir. 2006)). “An agency
20   complies with the best available science standard so long as it does not ignore available
21   studies.” San Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d 971, 995 (9th Cir. 2014).
22   Here, Plaintiffs do not allege that NMFS “actually omitted” the Final Rule (81 Fed. Reg. 62,260
23   (Sept. 8, 2016)) that revised the listing status of humpback whales to include four endangered
24   DPSs and one threatened DPS. Kern, 450 F.3d at 1081. Nor do Plaintiffs allege that NMFS
25   omitted the studies relied on in that Final Rule, including Wade et al. (2016), Bettridge et al.
26   (2015), or Calambokidis et al. (2008).
27           Instead, Plaintiffs argue that NMFS acted arbitrarily by not incorporating the final
28   abundance numbers from the Final Rule for the Central America and Mexico DPSs. Pls.’ Mot. at

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 1   26. That is incorrect. The final abundance number for the Central America DPS identified in the
 2   Final Rule (411) is within the range outlined in the BiOp (400-600). 81 Fed. Reg. at 62,307.
 3   Further, while the abundance number for the Mexico DPS (3,264) is below the range outlined in
 4   the BiOp (6,000-7,000), “gaps and imperfections” in the analysis “do not rise to the level of an
 5   arbitrary and capricious decision.” Sw. Ctr. for Biological Diversity v. U.S. Forest Serv., 100
 6   F.3d 1443, 1448 (9th Cir. 1996). Also, Plaintiffs have not shown how that difference in degree
 7   “diminish[ed] the true import of the threat of ship strikes.” Pls.’ Mot. at 27. Indeed, Plaintiffs
 8   ignore evidence in the BiOp showing that NMFS fully acknowledged the implications of that
 9   Final Rule. Citing the very study that informed the Final Rule’s abundance estimates (Wade et
10   al. (2016)), NMFS discussed the mean probability of encountering a Central America DPS
11   humpback off the west coast as 10.4% with a 95% confidence interval of 1%-19.7%, and the
12   mean probability of encountering a Mexico DPS humpback as 89.6%. NMFS AR 34. NMFS
13   highlighted its concern with the Central America DPS in particular “due to its low abundance
14   and the persistence of threats to these animals from human activities on and along the west
15   coast.” Id. Because of this concern, NMFS estimated that up to 20% of humpbacks encountered
16   off of California and Oregon would be from that DPS while 90% would be from the Mexico
17   DPS. Id. The agency “recognize[d] that this equates to more than 100% of the animals that could
18   be affected but is protective of Central American DPS when assessing potential consequences.”
19   NMFS AR 35 (emphasis added).
20           Plaintiffs cannot rescue this line of argument by reference to case law. Greenpeace v.
21   NMFS, 80 F. Supp. 2d 1137, 1150 (W.D. Wash. 2000), is not analogous because there the
22   agency admitted to overlooking evidence. Here, by contrast, NMFS’s “conclusion was not
23   arbitrary and capricious; it was thoroughly reasoned and supported by relevant data” that
24   included much “more than a dozen scientific studies to supports its findings—none of which
25   are challenged by Plaintiffs.” Colorado by & Through Colorado Dep’t of Nat. Res., v. U.S.
26   Fish & Wildlife Serv., 362 F. Supp. 3d 951, 970 (D. Colo. 2018). Plaintiffs’ reference to Dow
27   AgroSciences LLC v. NMFS, 707 F.3d 462, 473 (4th Cir. 2013), does not support their position.
28   Indeed, in the sentence prior to the one Plaintiffs quote, the court states: “We should point out

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 1   that an agency need not revise its action every time new data or a new model is announced
 2   because doing so ‘would lead to significant costs and potentially endless delays in the approval
 3   processes.’” Id. (citation omitted). Plus, the Dow court cited Sierra Club v. EPA, 356 F.3d 296,
 4   308 (D.C. Cir. 2004), which concluded that the use of an old model was appropriate where a
 5   new modeling tool was available for only one year before the plans were approved. Here, the
 6   Final Rule that Plaintiffs devote so much attention to was not published until September 2016,
 7   when NMFS was revising the draft BiOp. See, e.g., NMFS Supporting Docs 1000-03
 8   (discussing the Proposed Rule in comments in a draft of the BiOp). Likewise, Plaintiffs’
 9   reliance on Intertribal Sinkyone Wilderness Council v. NMFS, 970 F. Supp. 2d 988 (N.D. Cal.
10   2013), is misplaced. The court distinguished Sierra Club by noting that the “data was available
11   years, not months, before the NMFS issued the [] BiOp.” Intertribal Sinkyone, 970 F. Supp. 2d
12   at 1001. The timing in this case is closer to Sierra Club than Intertribal Sinkyone.
13           In the face of this headwind, Plaintiffs tack and argue that NMFS’s reliance on
14   population information drawn from MMPA stock data is “inexplicabl[e].” Pls.’ Mot. at 27. This
15   approach fares no better because NMFS’s use of the MMPA stocks is explained, and rationally
16   so. See NMFS AR 24 (noting that blue whale population estimates are reported in MMPA stock
17   assessment reports (SARs), and thus the best available population estimates are referenced by
18   MMPA stock); NMFS AR 38 (referring back to the discussion on why the MMPA SARs
19   provide the best available information). Moreover, NMFS synergized the existing data on the
20   California/Oregon/Washington MMPA stock, which winters in coastal Central America and
21   Mexico and migrates to California and southern Canada in the summer and fall, with
22   information related to the newly identified Central America and Mexico DPSs. NMFS AR 38;
23   contra Pls.’ Mot. at 27. The record evidence shows that the discreteness of the DPSs was
24   embraced and placed in the context of the trends seen in the MMPA stock. See NMFS AR 38-
25   40 (showing an increase of 7.5%). NMFS’s application of its expert judgment on the integration
26   of the relevant population data should not be disturbed.
27           Plaintiffs incorrectly contend that NMFS failed to consider a data point on humpback
28   deaths from entanglements that was discussed in the Final Rule on the humpback DPSs. Pls.’

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 1   Mot. at 28 (citing 81 Fed. Reg. at 62,305). Plaintiffs do not argue that NMFS overlooked the
 2   issue of entanglements in the context of fisheries interactions. Nor could they, because the BiOp
 3   covers the issue, including numbers on entanglements through 2013 and studies from 2014 and
 4   2015. NMFS AR 61-63. Instead, Plaintiffs quibble with the fact that the BiOp did not itself
 5   specifically refer to the Final Rule’s reference to a report on 31 deaths in 2015. But a court may
 6   not “fly-speck the document and hold it insufficient on the basis of inconsequential, technical
 7   deficiencies.” Friends of Southeast’s Future v. Morrison, 153 F.3d 1059, 1063 (9th Cir. 1998)
 8   (citation omitted). This is especially true when the technical deficiency is based on a data point
 9   in a Final Rule issued just months before the BiOp was finalized. Ultimately, Plaintiffs fail to
10   meet their burden of showing that this data point is needed for a lawful jeopardy analysis.
11       D. NMFS Properly Concluded that an Incidental Take Statement Was Unnecessary.
12           At the conclusion of the BiOp, NMFS added a section in which it explained that
13   incidental take was not reasonably certain to occur and determined that an ITS was thus not
14   necessary. NMFS AR 98. This decision is not only supported by the analysis in the BiOp but
15   also entirely consistent with the ESA and the implementing regulations.
16           NMFS’s analysis of incidental take picked up where the risk analysis left off. First,
17   NMFS “determined that the effects on fin whales and leatherbacks are extremely unlikely and
18   therefore discountable, not rising to the level of take.” Id. Next, NMFS concluded that take of
19   humpback and blue whales was considered not likely to occur based on “the overall reduced
20   exposure of whales to vessel traffic, the behavior and number of ships in the action area and the
21   relative density and variability in habitat use by whales.” Id. Because the risk assessment was
22   rational, see supra, these conclusions about take were reasonable and are entitled to deference.
23           Plaintiffs’ argument about incidental take is largely derivative of their flawed arguments
24   about the effects analysis, and therefore should be rejected. Pls.’ Mot. at 30. However, Plaintiffs
25   also imply that NMFS was required to do more in the ITS. Id. at 28-30. This approach rests on a
26   misapplication of the relevant regulatory provisions and misunderstanding of the case law. As
27   an initial matter, it is undisputed that an ITS is not required for every BiOp. Id. at 28 (stating
28   that a BiOp “must analyze whether a ‘taking’ of listed species may occur” and “[w]henever

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 1   ‘such take is reasonably certain to occur”); see 16 U.S.C. § 1536(b)(4)(i) (stating the ITS will
 2   specify “the impact of such incidental taking”); 50 C.F.R § 402.14(i)(1) (requiring the issuance
 3   of an ITS only when the “resultant incidental take of listed species will not violate section
 4   7(a)(2)”) (emphasis added). Thus, Plaintiffs’ argument turns on what the appropriate standard is
 5   and whether it has been met here. As discussed below, NMFS easily met that standard.
 6           The standard for when an ITS is required was clarified by the Services in 2015. 80 Fed.
 7   Reg. 26,832 (May 11, 2015). In that rulemaking, the Services noted that the 1998 Consultation
 8   Handbook applied a standard of “reasonably likely” in determining whether an ITS was needed
 9   and that while the Ninth Circuit did not definitively resolve the issue in Arizona Cattle Growers
10   Association v. U.S. Fish & Wildlife, 273 F.3d 1229 (9th Cir. 2001), the court “cited favorably to
11   the lower court’s application of the standard of ‘reasonable certainty’ for issuance of an [ITS].”
12   80 Fed. Reg. at 26,836. Against this backdrop and in light of the language about “reasonably
13   certain to occur” in the context of indirect effects, the Services changed the standard for an ITS
14   from “may occur” to “reasonably certain to occur.” Id. at 26,836-37. The Services also squarely
15   addressed the suggestion in cases such as Public Employees for Environmental Responsibility v.
16   Beaudreu, 25 F. Supp. 3d 67 (D.D.C. 2014), that a lower standard applies for issuance of an ITS:
17   “that is not the Services’ interpretation. The language of § 402.14(g)(7) cannot be read in
18   isolation. The Services implement § 402.14(g)(7) together with the more particular requirements
19   of § 402.14(i).” 80 Fed. Reg. at 26,837. This statement undermines Plaintiffs’ reliance on the
20   Public Employees case.22 Pls.’ Mot. at 30. As part of the 2015 rulemaking, the Services provided
21   further explanation for how to proceed when take is not reasonably certain to occur. They wrote:
22           Where formal consultation results in a determination that take is not “reasonably
23           certain,” then consistent with § 402.14(g)(7) and the Services’ Section 7 Handbook,
             the Services provide a section entitled “incidental take statement” along with a short
24           paragraph explaining that incidental take is not anticipated. Thus, the statement
             does not go on to provide an amount or extent of take, reasonable and prudent
25           measures, or the other components of an incidental take statement.
26
     22
27      The Services’ reading is entitled to deference despite the decision in Public Employees
     because “allowing a judicial precedent to foreclose an agency from interpreting an ambiguous
28   statute . . . would allow a court’s interpretation to override an agency’s.” Nat’l Cable &
     Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 982 (2005).
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 1   80 Fed. Reg. at 26,387. This is exactly what NMFS did here. Pursuant to the ESA implementing
 2   regulations, NMFS applied the proper standard when it concluded that take was not “reasonably
 3   certain to occur.” 50 C.F.R. § 402.14(g)(7); see Columbia Riverkeeper v. U.S. Army Corps of
 4   Eng’rs, -- F. Supp. 3d -- , No. 19-6071 RJB, 2020 WL 6874871, at *2 (W.D. Wash. Nov. 23,
 5   2020) (noting that an ITS is needed only “[i]f the NMFS concludes in the [BiOp] that the
 6   proposed action will not likely jeopardize the continued existence of a listed species but is
 7   reasonably certain to result in an incidental take”). And, consistent with the 2015 rulemaking,
 8   NMFS appropriately stated in a section entitled “Incidental Take Statement” that take is not
 9   anticipated. NMFS AR 98.
10           Plaintiffs have not pointed to any record evidence indicating that take is reasonably
11   certain to occur from the proposed action, and thus have failed to show that NMFS acted
12   arbitrarily or capriciously in reaching its decision on incidental take. Moreover, Plaintiffs devote
13   more than a page of their brief to citing cases that describe the elements of an ITS, including a
14   reinitiation trigger. Pls.’ Mot. at 29-30. But all of these cases are irrelevant because an ITS was
15   not necessary in the first instance.
16   III.    USCG Satisfied Its Substantive Obligations to Ensure Against Jeopardy.
17           Plaintiffs assert that USCG violated ESA Section 7 by relying on the BiOp, Pls.’ Mot. at
18   30-31, but this argument is premised on the mistaken conclusions about the BiOp. Here,
19   NMFS’s BiOp represented a thorough and reasoned analysis of the proposed action and its
20   effects when added to the baseline and cumulative effects. See supra; Pyramid Lake Paiute
21   Tribe of Indians v. U.S. Dep’t of the Navy, 898 F.2d 1410, 1415 (9th Cir. 1990) (holding that the
22   action agency did not act arbitrarily and capriciously in its reliance on a valid BiOp). Therefore,
23   USCG acted reasonably by relying on NMFS’s BiOp.
24                                              CONCLUSION
25           For all the reasons stated herein, Plaintiffs’ Motion for Summary Judgment should be
26   denied, and Defendants’ Cross-Motion for Summary Judgment should be granted.
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     Dated: March 17, 2022                      Respectfully submitted,
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                                       CERTIFICATE OF SERVICE
 1
 2           I hereby certify that on March 17, 2022, I electronically filed the foregoing with the

 3   Clerk of the Court for the United States District Court for the Northern District of California by
 4
     using the CM/ECF system, which will serve a copy of the same on the counsel of record.
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